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UNITED STATES D|STR|CT COURT

l\/l|DDLE DlSTRlCT OF PENNSYLVAN|A

 

 

GRAZYNA S. GREZAK, C|V|L ACT|ON
Plaintiff, No. 3:15-CV-2111
v.

ROPES & GRAY, LLP, et al., (l\/|ANN|ON, D.J.)
Defendants (|\/lEHALCH|CK, l\/l.J.)

 

l\/lOT|ON FOR EXTENS|ON OF T||\/lE TO F|LE OBJECT|ONS TO THE HONORABLE
l\/lEHALCH|CK, UN|TED STATES MAG|STRATE JUDGE' re184 REPORT AND
RECOI\/|l\/|ENDAT|ONS

Plaintiff, Grazyna Grezak, respectfully submits this Request supported by
Declaration for extension of time to file her Objections to the Honorable
I\/|eha|chick, United States l\/|agistrate Judge's re 184 Order "Report and
Recommendations".

As the record of this case shows on the Docket No. 24, Plaintiff was severely
intimidated for filing this case on November 3, 2015 With this Court.

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From August 19, 2016 until December 05, 2016 Plaintiff was continuously
intimated for not withdrawing this case.

On December 5, 2016, this Court gave Plaintiff 30 days to file her Amended
Complaint.

On January 5, 2017, Plaintiff came to this Court covering bruises on her face
with big scarf and submitted unfinished Third Amended Joint Complaint against
multiple Defendants.

Due to the unique circumstances of this pending case and the prolonged
extraordinary circumstances surrounding this case in the District Court for the
|\/liddle District of Pennsylvania, from January 5, 2017 until now, involving such
inhumane treatments and intimidation of unrepresented Polish Cristian women
Plaintiff, and sick Plaintiff will be severely prejudiced by only 14 days given to her
by Local Rules to respond the re 184 Order dismissing her such hard work in the
form of many documents proving her requests to the Court, and supporting her
claims against multiple Defendants to this case, in amount of five (5).

lt is clear from the Court's information, evidencing documents in the record of
the case, that Plaintiff is very sick, having proven by evidence, problems with
walking, driving the car and writing on many occasions, because she can't effort
proper medications and treatments necessary to proceed on time against
multiple Defendants surrounded by plenty attorneys.

And the only fourteen (14) days will potentially cause irreparable harm to

injured Plaintiff combined with the extraordinary circumstances here of

 

 

 

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continued financial harm and physical injury of unrepresented Plaintiff during
pendency of this case, that she is unable to retain her own attorney.

Thus, the Plaintiff's request is reasonable here to be given additional time to
respond to the re 184 Order on Report and Recommendations against multiple
Defendants here.

The re 177 Affidavit evidence in the record of this case shows, that Defendant
Aisha Bams and Ropes & Gray, LLP intentionally, knowing Plaintiff' vulnerability,
harassed her, in violation of her rights during this pending Third Amended Joint
Complaint.

Plaintiff was working hard to improve her physical condition and Defendant
Aisha Bams and Ropes & Gray, LLP intentionally victimized fearful Plaintiff. And
now, Plaintiff is struggling again with painful muscle spasms, painful deformation
of her fingers.

Due to the relevant circumstances surrounding Plaintiff's ongoing lateness in
filings against multiple Defendants, she is entitled to certain "fundamental"
constitutional protection in the form of reasonable time for her to properly
respond to re 184 Order Report and Recommendations.

There is no danger of prejudice to the opposing parties here, and no potential
impact on judicial proceedings. There is nine (9) months past already proceeding
on the Third Amended Joint Complaint, and additional time for sick Plaintiff here

to responded to Report and Recommendations will not cause any prejudice.

 

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Plaintiff will work hard in good faith to cut the length of delay to respond to re
Order on Report and Recommendations, even it is not within the control of
Plaintiff.

WHEREFORE, for the foregoing reasons, Plaintiff Grazyna Grezak respectfully
requests this Honorable Court for extension of time to file her Objections to
l\/lagistrate Judge' Report and Recommendation.

Respectfully Submitted,

@MGNA

Grazyna Grezak

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Date: l\/lay 29, 2018

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Ropes & Gray, LLP, et al., (l\/lannion, D.J.)
Defendants (i\/lehalchick,l\/l.J.)
X
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l, the undersigned, hereby certify that on 5 l q 2018, l served via U. S. mail a true and

 

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Upon all Defendants to this case addressed as follow:

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